               Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 1 of 13




                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISON

 SHAKANA PATTERSON                                §
                                                  §
           Plaintiffs,                            §
                                                      CIVIL ACTION NO. 1:21-cv-534
 v.                                               §
                                                  §
 DOLLAR GENERAL CORPORATION                       §
                                                      JURY TRIAL DEMANDED
                                                  §
           Defendant.                             §
                                                  §
                                                  §

                                    ORIGINAL COMPLAINT

          Plaintiff SHAKANA PATTERSON (“Plaintiff” or “Ms. Patterson”) by and through her

attorneys, ELLWANGER LAW LLLP, brings this action for damages and other legal and

equitable relief from Defendant, DOLLAR GENERAL CORPORATION. (“Defendant” or

“Dollar General”), for violations of Title VII of the Civil Rights Act of 1964 (“Title VII”), as

amended, 42 U.S.C. §§ 2000e et seq., Section 1981 of the Civil Rights Act of 1866 (“Section

1981”), 42. § 1981, the Texas Employment Discrimination Act, as amended, Tex. Lab. Code §§

21.001 et seq. (“TLC”), and any other cause(s) of action that can be inferred from the facts set

forth herein.

                                        INTRODUCTION

          1.      This is a case about a pervasively and persistently biased supervisor Defendant

Dollar General employed at its Lago Vista, Texas, store and the discrimination, harassment and

abuse that supervisor lodged against Plaintiff, that store’s sole Black employee for most of her

tenure.
            Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 2 of 13




       2.      Plaintiff Shakana Patterson worked as a Sales Associate and Key Holder at

Defendant’s Lago Vista Dollar General store from January 2020 through February 2021. For all

but one month of her tenure she was the only Black employee at the store.

       3.      In her just over a year as a Dollar General employee, she was subjected to pervasive

racial discrimination, harassment, and abuse at the hands of her supervisor, Heather Wille. Wille’s

racial discrimination against Ms. Patterson ranged from comments about her hair to surveillance

of Ms. Patterson to which Ms. Wille did not subject White employees, to harsher discipline against

Ms. Patterson for the same alleged offenses for which White employees were given lighter or no

discipline, to racial policing of Ms. Patterson’s language and conduct, to a persistent refusal to

promote and pay Ms. Patterson on the same basis that White employees were promoted and paid.

       4.      When Ms. Patterson asked Ms. Wille to stop her racist abuse, the abuse intensified.

When Ms. Patterson went to Dollar General corporate Human Resources for help in ending the

harassment, they did nothing, and let Ms. Wille know about the complaint. Retaliation against Ms.

Patterson ensued.

       5.      This is an action brought by Ms. Patterson seeking damages from Defendant for

these acts of race discrimination and harassment., Defendant’s acts of discrimination are in

violation of Title VII, Section 1981, the TLC, and any other cause(s) of action that can be inferred

from the facts set forth herein.

                                   JURISDICTION AND VENUE

       6.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, which

confers original jurisdiction upon this Court for actions arising under the laws of the United States,

and pursuant to 28 U.S.C. §§ 1343(3) and 1343(4), which confer original jurisdiction upon this

Court in a civil action to recover damages or to secure equitable relief (i) under any Act of Congress


                                                                            ORIGINAL COMPLAINT
                                                  2
              Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 3 of 13




providing for the protection of civil rights; (ii) under the Declaratory Judgment Statute, 28 U.S.C.

§ 2201; Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq., and

Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

        7.       The Court’s supplemental jurisdiction is invoked under 28 U.S.C. § 1367(a), which

confers supplemental jurisdiction over all non-federal claims arising from a common nucleus of

operative facts such that they form part of the same case or controversy under Article III of the

United States Constitution.

        8.       Venue is proper in this Court in as much as the unlawful employment practices

occurred in this judicial district.

                                             PARTIES

        9.       Ms. Patterson is a person who has been aggrieved by Defendant’s actions. She is

and has been, at all relevant times, a Black woman and a resident of Texas.

        10.      At all relevant times, Plaintiff was Defendant’s employee and therefore covered by

Title VII and the TLC.

        11.      Upon information and belief, Defendant employs over five-hundred (500) persons.

Defendant maintains a retail store facility at 8017 Bronco Lane, Lago Vista, TX 78645.

        12.      During all relevant times, Defendant has been an employer covered by Title VII

and the TLC.

        13.      Defendant transacted and continues to transact business in Texas by, among other

things, employing persons at multiple facilities located within Texas and within this judicial

district, including the Lago Vista facility at which Ms. Patterson was employed.

                EXHAUSTION OF FEDERAL ADMINISTRATIVE REMEDIES




                                                                           ORIGINAL COMPLAINT
                                                 3
                Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 4 of 13




          14.      Ms. Patterson timely filed a Charge of Discrimination and timely filed an Amended

Charge of Discrimination with the EEOC.

          15.      Ms. Patterson received her Notice of Right to Sue letter from the EEOC within

ninety (90) days prior to the filing of this Complaint.

                                      STATEMENT OF FACTS

          16.      Ms. Patterson worked as a Key Holder and Sales Associate for Dollar General in

Lago Vista, Texas from January 2020 until she was constructively discharged on or around

February 19, 2021.

          17.      Ms. Patterson was one of only two Black employees at the Lago Vista location

during her tenure. The other Black employee, Georgie Johnson (“Ms. Johnson”), worked at the

Lago Vista location less than a month. Over their short employment overlap, Ms. Johnson and Ms.

Patterson were, on several occasions, mistaken for one another by White employees.

          18.      From her first day at Dollar General to her last Ms. Patterson was subjected to

targeted racial harassment and discrimination by her supervisor, Lago Vista store Manager Heather

Wille.

          19.      Ms. Wille’s discrimination against Ms. Patterson took the form of near-daily

hostility and contempt. Ms. Wille regularly surveilled Ms. Patterson while at work but did not

similarly surveil White employees.

          20.      Ms. Patterson was also subjected to disparate treatment based on her race. For

example, Ms. Wille did not allow Ms. Patterson to take 15-minute breaks if she worked fewer than

6 hours. However, Ms. Wille allowed similarly situated White employees to take 15-minute

breaks.




                                                                            ORIGINAL COMPLAINT
                                                   4
             Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 5 of 13




       21.      On multiple occasions, Ms. Wille commented about Ms. Patterson’s hair. On or

around May 23, 2020, Ms. Wille asked if Ms. Patterson was wearing a wig (she was not), then

went on to disparage wigs, elaborating that “I don’t like wearing those things; they make your hair

itch.” On or around July 22, 2020, Ms. Patterson wore braids to work. When Ms. Wille saw Ms.

Patterson’s braids, she asked, “What’s all this?” and motioned at Ms. Patterson’s hair. Ms.

Patterson replied that those were her braids. Ms. Wille criticized the braids, saying, “bunch of

craziness going on.” Ms. Wille did not similarly question White employees for their choice of

hairstyle and even indicated approval of changes in White employees’ hairstyle.

       22.      On multiple occasions, Ms. Wille insulted the intelligence of Ms. Patterson. In one

instance, Ms. Wille said that Ms. Patterson “had the common sense of a small animal.” On another,

Ms. Wille derisively called Ms. Patterson a “goof and silly girl.” On yet another instance, Ms.

Wille snapped at Ms. Patterson, “Do you know what a Ziplock is?” Upon information and belief,

Ms. Wille did not berate or insult White employees in this manner.

       23.      On numerous occasions, Ms. Wille disciplined Ms. Patterson more harshly than

White employees for alleged transgressions.

       24.      For example, in or around the summer 2020, Ms. Wille called Ms. Patterson a “key

thief” after a store cabinet key was accidentally taken home. White employees also accidentally

took this key home with them but were never subject to name-calling, insults, or accusations of

criminality.

       25.      In or around early September 2020, Ms. Patterson and a White employee hung up

signs on merchandise displayed outside the store. Shortly after, Ms. Wille admonished Ms.

Patterson for putting up the signs, calling it against store policy. The White employee was not




                                                                          ORIGINAL COMPLAINT
                                                 5
              Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 6 of 13




admonished by Ms. Wille for putting up the signs outside. Upon information and belief, Ms. Wille

knew both Ms. Patterson and the White employee put up the signs together.

        26.      Also in or around early September 2020, Ms. Wille discovered that the store safe

was left open. Ms. Wille assumed that Ms. Patterson left the safe open and she threatened to fire

Ms. Patterson. Prior to this, in or around July 2020, a White employee left the safe open. The White

employee was not similarly threatened with termination by Ms. Wille for leaving the safe open.

        27.      Ms. Wille’s mistreatment of Ms. Patterson because of her race extended to denying

Ms. Patterson promotions on equal terms as her White coworkers, and in pay disparities.

        28.      Ms. Wille offered White employees promotion opportunities first. Three different

White employees were offered the position of Key Holder before Ms. Patterson was asked. These

three White employees quit, leaving Ms. Patterson as the only employee with a sufficient tenure

to qualify to be Key Holder.

        29.      Upon her promotion to Key Holder, Ms. Wille required Ms. Patterson to go through

training. White employees promoted to Key Holder, however, were not required to go through

training.

        30.      White employees saw promotions reflected immediately in their paycheck. When

Ms. Patterson was promoted, Ms. Wille told her that she needed to wait several weeks before her

paycheck reflected the promotion.

        31.      Ms. Wille also gave White employees more work opportunities. When Ms.

Patterson requested more work, Ms. Wille responded that Ms. Patterson was not prepared to do

certain jobs and tasks, despite on information and belief never invoking such a pretext to deny

similar work to similarly situated White employees.




                                                                           ORIGINAL COMPLAINT
                                                 6
              Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 7 of 13




        32.      In or around May 2020, Ms. Wille messaged employees about picking up an extra

shift. Ms. Patterson was the only employee not included in Ms. Wille’s text, despite requesting

extra shifts.

        33.      On several occasions, Ms. Wille made plain that her disparate treatment of Ms.

Patterson was rooted in a general antipathy toward Black people. For example, on or around June

19, 2020, Ms. Patterson wished customers “Happy Juneteenth” in recognition of the state holiday

celebrating the emancipation of Black slaves in the United States. Ms. Wille, upon hearing this,

looked at Ms. Patterson with disgust, pulled her aside, and warned her not to wish anyone “Happy

Juneteenth” again.

        34.      In or around June 2020, a customer engaged Ms. Patterson in conversation about

the recent murder of George Floyd and the Black Lives Matter movement. Ms. Wille, overhearing

this conversation, interjected, “All lives matter.”

        35.      Ms. Patterson reported multiple instances of racial discrimination to an

intermediate supervisor, Assistant Manager Cary Cosgrove; however, no remedial measures were

taken by this supervisor.

        36.      Ms. Patterson reported Ms. Wille’s race-based remarks and treatment to a

Temporary Store Manager who was visiting the Lago Vista Store. The Temporary Store Manager

confirmed that Ms. Wille had made such remarks; however, no remedial measures were taken by

the Temporary Store Manager.

        37.      On or around July 2020, Ms. Patterson reported the discriminatory treatment and

harassment to the Employee Response Center (“ERC”), which is the employee complaint hotline.

During this call, Ms. Patterson was told that Ms. Wille’s actions constitute discrimination.




                                                                          ORIGINAL COMPLAINT
                                                  7
              Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 8 of 13




        38.      Despite promises for a follow-up phone call from ERC, Ms. Patterson received

none. Further, no remedial action was taken, and Ms. Wille continued to insult and harass Ms.

Patterson.

        39.      After Ms. Patterson made the ERC complaint, Ms. Wille, who became aware of the

complaint, began retaliating against Ms. Patterson. In addition to increased surveillance, Ms.

Patterson’s hours were cut back from 25 to 13.

        40.      In addition to retaliating by cutting back Ms. Patterson’s hours, Ms. Wille

threatened to fire Ms. Patterson.

          AS AND FOR A FIRST CAUSE OF ACTION FOR A VIOLATION OF
       Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq.
                                 (Hostile Work Environment)

        41.      Plaintiff is a member of a protected class and repeats and re-alleges the allegations

contained in the paragraphs above, as if fully set forth herein.

        42.      The conduct alleged herein violates Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. §§ 2000e et seq., as Plaintiff was subjected to a hostile work environment on

the basis of race.

        43.      Plaintiff’s requests for relief are set forth below.

        AS AND FOR A SECOND CAUSE OF ACTION FOR A VIOLATION OF
       Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq.
                                       (Discrimination)

        44.      Plaintiff is a member of a protected class and repeats and re-alleges the allegations

contained in the paragraphs above, as if fully set forth herein.

        45.      The conduct alleged herein violates Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. §§ 2000e et seq., as Plaintiff was discriminated against in promotions and pay

and ultimately constructively discharged on the basis of race.


                                                                             ORIGINAL COMPLAINT
                                                    8
             Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 9 of 13




       46.      Plaintiff’s requests for relief are set forth below.

          AS AND FOR A THIRD CAUSE OF ACTION FOR A VIOLATION OF
       Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq.
                                          (Retaliation)

       47.      Plaintiff is a member of a protected class and repeats and re-alleges the allegations

contained in the paragraphs above, as if fully set forth herein.

       48.      The conduct alleged herein violates Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. §§ 2000e et seq., as Plaintiff engaged in protected activity in reporting the

hostile work environment and discrimination and was subjected to retaliation in the form of

adverse employment actions increased harassment and constructive discharge from her

employment.

       49.      Plaintiff’s requests for relief are set forth below.

        AS AND FOR A FOURTH CAUSE OF ACTION FOR A VIOLATION OF
             Section 1981 of the Civil Rights Act of 1866, 42 U.S.C. § 1981
                                (Racial Discrimination)

       50.      Plaintiff re-alleges and incorporates by reference the allegations contained in the

paragraphs above as if fully set forth herein.

       51.      Defendants violated 42 U.S.C. §1981 which guarantees her the right to “make and

enforce contracts,” including “the enjoyment of all benefits, privileges, terms, and conditions of

the contractual relationship” free from “nongovernmental discrimination” and with “the full and

equal benefit of all laws and proceedings for the security of persons and property as is enjoyed by

white citizens.”

       52.      Plaintiff has suffered emotional damages as a result of Defendants' unlawful

racially discriminatory conduct and is therefore entitled to equitable and monetary relief as well as

attorneys’ fees under 42 U.S.C. §1988.


                                                                            ORIGINAL COMPLAINT
                                                   9
          Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 10 of 13




       53.     Plaintiff’s further requests for relief are set forth below.

        AS AND FOR A FIFTH CAUSE OF ACTION FOR A VIOLATION OF
 The Texas Employment Discrimination Act, as amended, Tex. Lab. Code §§ 21.001 et seq.
                            (Hostile Work Environment)

       54.     Plaintiff is a member of a protected class and repeats and re-alleges the allegations

contained in the paragraphs above, as if fully set forth herein.

       55.     The conduct alleged herein violates the Texas Employment Discrimination Act, as

amended, Tex. Lab. Code §§ 21.001 et seq., as Plaintiff was subjected to a hostile work

environment on the basis of race.

       56.     Plaintiff’s requests for relief are set forth below.

        AS AND FOR A SIXTH CAUSE OF ACTION FOR A VIOLATION OF
 The Texas Employment Discrimination Act, as amended, Tex. Lab. Code §§ 21.001 et seq.
                                 (Discrimination)

       57.     Plaintiff is a member of a protected class and repeats and re-alleges the allegations

contained in the paragraphs above, as if fully set forth herein.

       58.     The conduct alleged herein violates the Texas Employment Discrimination Act, as

amended, Tex. Lab. Code §§ 21.001 et seq., as Plaintiff was discriminated against in promotions

and pay and ultimately constructively discharged on the basis of race.

       59.     Plaintiff’s requests for relief are set forth below.

      AS AND FOR A SEVENTH CAUSE OF ACTION FOR A VIOLATION OF
 The Texas Employment Discrimination Act, as amended, Tex. Lab. Code §§ 21.001 et seq.
                                   (Retaliation)

       60.     Plaintiff is a member of a protected class and repeats and re-alleges the allegations

contained in the paragraphs above, as if fully set forth herein.

       61.     The conduct alleged herein violates the Texas Employment Discrimination Act, as

amended, Tex. Lab. Code §§ 21.001 et seq., as Plaintiff was subjected to a hostile work


                                                                              ORIGINAL COMPLAINT
                                                  10
          Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 11 of 13




environment through denial of promotions and in the terms and conditions of her employment on

the basis of race.

        62.     Plaintiff’s requests for relief are set forth below.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests judgment against Defendant as follows:
         A. A judgment declaring that the practices complained of herein are unlawful and in

              violation of the Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§

              2000e et seq., Section 1981 of the Civil Rights Act of 1866, 42 U.S.C. § 1981, the

              Texas Employment Discrimination Act, as amended, Tex. Lab. Code §§ 21.001 et seq.

              (“TLC”).;

         B. All damages that Plaintiff has sustained as a result of Defendant’s conduct, including

              back pay, front pay, benefits, general and specific damages for lost compensation, and

              job benefits they would have received but for Defendant’s discriminatory practices,

              and for emotional distress, humiliation, embarrassment, and anguish;

         C. Exemplary and punitive damages in an amount commensurate with Defendant’s

              ability and so as to deter future malicious, reckless, and/or intentional conduct;

         D. Awarding Plaintiff the costs and disbursements incurred in connection with this

              action, including reasonable attorney’s fees, expert witness fees and other costs;

         E. Pre-judgment and post-judgment interest, as provided by law;

         F. That the Court retain jurisdiction over Defendant until such time as it is satisfied that

              they have remedied the practices complained of and are determined to be in full

              compliance with the law; and

         G. Granting Plaintiff other and further relief as this Court finds necessary and proper.


                                                                             ORIGINAL COMPLAINT
                                                   11
          Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 12 of 13




Plaintiff also seek injunctive relief, including, but not limited to:

         H. Training on the subject of employment discrimination for all of Defendant’s

             employees;

         I. Training of all employees regarding racial harassment and discrimination, including

             the reporting procedures for reporting such harassment, conducted by reputable

             outside vendors;

         J. Supervisory discipline up to and including termination for any employee who engages

             in unlawful discrimination, including racial harassment;

         K. Active monitoring of the work areas to ensure compliance with discrimination

             policies;

         L. Monitoring by the Court or a federal agency to ensure that Defendant complies with

             all injunctive relief; and


        Plaintiff further demands that she be awarded such other and further legal and equitable

relief as may be found appropriate and as the Court may deem just or equitable.

                                DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a trial

by jury on all questions of fact raised by this Complaint.


Dated: June 18, 2021
                                                        Respectfully submitted,

                                                        /s/ Holt M. Lackey
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                                                                            ORIGINAL COMPLAINT
                                                  12
Case 1:21-cv-00534-LY Document 1 Filed 06/18/21 Page 13 of 13




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                                                     ORIGINAL COMPLAINT
                             13
